                                                                                                                                               Case 2:18-cv-10542-LJM-EAS ECF No. 86 filed 08/15/18                                                        PageID.1297    Page 1 of 2




                                                                                                                                                                                                                       UNITED STATES DISTRICT COURT
                                                                                                                                                                                                                       EASTERN DISTRICT OF MICHIGAN
                                                                                                                                                                                                                            SOUTHERN DIVISION

                                                                                                                                                                                                  JOEL VANGHELUWE and
                                                                                                                                                                                                  JEROME VANGHELUWE

                                                                                                                                                                                                              Plaintiffs,                            Case No. 2:18-cv-10542
S T A R R , B U T L E R , A L E X O P O U L O S & S T O N E R , P L L C , 2 0 7 0 0 C IV IC C E N T E R D R IV E , S U IT E 2 9 0 , S O U T H F IE L D , M I, 4 8 0 7 6 (2 4 8 ) 5 5 4 -2 7 0 0




                                                                                                                                                                                                                                                     Hon. Laurie J. Michelson
                                                                                                                                                                                                  v.                                                 Mag. Elizabeth A. Stafford

                                                                                                                                                                                                  GOTNEWS, LLC, et al.,

                                                                                                                                                                                                               Defendants.
                                                                                                                                                                                                  _________________________________________________________________/
                                                                                                                                                                                                  Andrew B. Sommerman (18842150) Alex L. Alexopoulos (P40547)
                                                                                                                                                                                                  Sommerman, McCaffity & Quesada    Zachary S. Jugan (P80944)
                                                                                                                                                                                                  Attorneys for Plaintiffs          Starr, Butler, Alexopoulos & Stoner, PLLC
                                                                                                                                                                                                  3811 Turtle Creek Blvd, Ste. 1400 Attorneys for Defendant Jim Hoft
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                                                                                                                                                                                                  Kirk, Huth, Lange & Badalamenti
                                                                                                                                                                                                  Local Counsel for Plaintiffs
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                                                                                                                                                                                                  Clinton Township, MI 48038
                                                                                                                                                                                                  (586) 412-4900
                                                                                                                                                                                                  rbadalamenti@khlblaw.com

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                                                                                                                                                                                                          STIPULATED ORDER OF DISMISSAL OF DEFENDANT
                                                                                                                                                                                                        JIM HOFT ONLY WITH PREJUDICE AND WITHOUT COSTS

                                                                                                                                                                                                        The parties having stipulated to the dismissal of Defendant Jim Hoft only from

                                                                                                                                                                                                  the above referenced cause of action with prejudice and without costs, interest and


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                                                                                                                                                                                                  attorney fees to any party, and the Court being otherwise fully advised in the premises;

                                                                                                                                                                                                        IT IS HEREBY ORDERED that Defendant Jim Hoft only be and is dismissed

                                                                                                                                                                                                  from the above entitled cause with prejudice and without costs, interest and attorney

                                                                                                                                                                                                  fees to any party.
S T A R R , B U T L E R , A L E X O P O U L O S & S T O N E R , P L L C , 2 0 7 0 0 C IV IC C E N T E R D R IV E , S U IT E 2 9 0 , S O U T H F IE L D , M I, 4 8 0 7 6 (2 4 8 ) 5 5 4 -2 7 0 0




                                                                                                                                                                                                  Dated: August 15, 2018                  s/Laurie J. Michelson
                                                                                                                                                                                                                                          Hon. Laurie J. Michelson
                                                                                                                                                                                                                                          U.S. District Judge


                                                                                                                                                                                                  Approved as to form and substance:


                                                                                                                                                                                                   /s/ Andrew B. Sommerman
                                                                                                                                                                                                  Andrew B. Sommerman (18842150)
                                                                                                                                                                                                  Attorney for Plaintiffs



                                                                                                                                                                                                   /s/ Alex L. Alexopoulos
                                                                                                                                                                                                  Alex L. Alexopoulos (P40547)
                                                                                                                                                                                                  Attorney for Defendant Jim Hoft




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